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       Benjamin Key and J.D. Huff

                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 DAVID M. GRANT,                             )   Case No. 1:18-cv-00411-CWD
                                             )
                Plaintiff,                   )   DEFENDANTS CITY OF FRUITLAND,
 vs.                                         )   FRUITLAND CITY POLICE, BENJAMIN
                                             )   KEY AND J.D. HUFF’S PARTIAL
 BENJAMIN KEY, in his official and           )   JOINDER    TO    PAYETTE   CITY
 individual capacities, CITY OF              )   DEFENDANTS’     OBJECTION    TO
 FRUITLAND, a political subdivision of       )   SUBSTITUTION OF PARTIES AND
 the State of Idaho, FRUITLAND CITY          )   PAYETTE     CITY    DEFENDANTS’
 POLICE DEPARTMENT, a department )
                                                 ALTERNATIVE MOTION FOR STAY OF
 of the City of Fruitland, J.D. HUFF, in his )
                                                 PROCEEDINGS
 individual and official capacity, CITY OF )
 PAYETTE, a political subdivision of the )
 State of Idaho, PAYETTE POLICE              )
 DEPARTMENT, a department of the             )
 City of Payette, BEN BRANHAM, in his )
 individual and official capacity, DUANE )
 HIGLEY, in his individual and official      )
 capacity, MARK CLARK, in his                )
 individual and official capacity, JOHN or )
 JANE DOES #1-10, whose true identities )
 are presently unknown, and other            )
 Employees of the City of Fruitland, the     )
 City of Payette, or Payette County,         )
                                             )
                Defendants.                  )
 _________________________________ )


DEFENDANTS CITY OF FRUITLAND, FRUITLAND CITY POLICE, BENJAMIN KEY AND
J.D. HUFF’S PARTIAL JOINDER TO PAYETTE CITY DEFENDANTS’ OBJECTION TO
SUBSTITUTION OF PARTIES AND PAYETTE CITY DEFENDANTS’ ALTERNATIVE
MOTION FOR STAY OF PROCEEDINGS – pg. 1
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       COME NOW Defendants City of Fruitland, Fruitland City Police, Benjamin Key and J.D.

Huff, by and through their attorneys of record, Moore Elia Kraft & Hall, LLP, hereby join, in part,

Payette City Defendants’ Objection to Substitution of Parties and Payette City Defendants’

Alternative Motion for Stay of Proceedings, filed on December 9, 2019. Specifically, Defendants

join parts III.B., III.C., and III.D. of Payette City Defendants Objection to Substitution of Parties

and Payette City Defendants’ Alternative Motion for Stay of Proceedings.

       DATED this 9th day of December, 2019.

                                      MOORE ELIA KRAFT & HALL, LLP


                                      By:/s/ Michael J. Elia______________
                                        Michael J. Elia, of the firm
                                        Attorneys for Defendants City of Fruitland, Fruitland
                                       City Police, Benjamin Key and J.D. Huff




DEFENDANTS CITY OF FRUITLAND, FRUITLAND CITY POLICE, BENJAMIN KEY AND
J.D. HUFF’S PARTIAL JOINDER TO PAYETTE CITY DEFENDANTS’ OBJECTION TO
SUBSTITUTION OF PARTIES AND PAYETTE CITY DEFENDANTS’ ALTERNATIVE
MOTION FOR STAY OF PROCEEDINGS – pg. 2
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of December, 2019, I caused to be served a true
and correct copy of the foregoing document, by the method indicated below, and addressed to the
following:

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 Defendants

                                             /s/ Michael J. Elia ___________
                                             Michael J. Elia




DEFENDANTS CITY OF FRUITLAND, FRUITLAND CITY POLICE, BENJAMIN KEY AND
J.D. HUFF’S PARTIAL JOINDER TO PAYETTE CITY DEFENDANTS’ OBJECTION TO
SUBSTITUTION OF PARTIES AND PAYETTE CITY DEFENDANTS’ ALTERNATIVE
MOTION FOR STAY OF PROCEEDINGS – pg. 3
